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 4                                                                        The Honorable Robert S. Lasnik
 5

 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7
                                             AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                           No. CR06-026 RSL
                      Plaintiff,
10
            v.                                               ORDER GRANTING DEFENDANTS’
11                                                           MOTION TO CONTINUE MOTIONS
     ROBEL SISAY GEBREMEDHIN, and LIBAN                      DEADLINE AND TRIAL DATE
12   FARAH ALI,

13                    Defendants.

14
            THIS MATTER comes before the Court upon Defendants Saimon Gebremichael Melacu
15
     and Liban Farah Ali’s motion to continue the motions deadline and trial date in this matter.
16
     Having considered the entirety of the records and file herein, the Court finds as follows:
17
                 1.          That failure to grant a continuance would deny counsel the reasonable time
18
                             necessary for effective preparation, taking into account the exercise of due
19
                             diligence, within the meaning of 18 U.S.C. 3161(h)(8)(B)(ii) and (iv);
20

21
                 2.          That the case is unusual and complex, due to the number of defendants and

22                           the nature of the prosecution such that it is unreasonable to expect adequate

23                           preparation within the time limits specified; and

24               3.          That the ends of justice will be served by ordering a continuance in the

25                           case, that a continuance is necessary to ensure effective trial preparation,


     ORDER GRANTING DEFENDANTS’ MOTION TO                                         LAW OFFICES OF
     CONTINUE MOTIONS DEADLINE AND TRIAL                                   COSTELLO & ASSOCIATES, P.S.
     DATE (No. CR06-026 RSL) - 1                                          1000 SECOND AVENUE, SUITE 1780
                                                                                SEATTLE, WA 98104
                                                                                  (206) 749-5020
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 1                              and that these factors outweigh the best interests of the public in a speedy

 2                              trial, within the meaning of 18 U.S.C. 3161(h)(8)(A).
 3
              THEREFORE, the Court rules as follows:
 4
              GOOD CAUSE HAVING BEEN SHOWN, the motions deadline and trial date in this
 5
     matter are hereby continued. The motions deadline is reset to October 31, 2006. The trial date is
 6
     reset to November 27, 2006.
 7
              The period of time from the current trial date, September 25, 2006, to the new trial date is
 8
     excluded under the Speedy Trial Act, 18 U.S.C. §§ 3161 et seq.
 9

10

11            DATED THIS 31st day of August, 2006.

12

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14
                                                            A
                                                            Robert S. Lasnik
                                                            United States District Judge
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17
     Presented by:
18

19   s/ Christopher Black
     Attorney for Saimon Gebremichael Melacu
20   Costello & Associates, P.S.
     1000 Second Ave, Suite 1780
21   Seattle, WA 98104
     Telephone: (206) 749-5020
22   Fax: (206) 749-5074
23
     F:\Legal Administration\CLIENT\Active\Melacu, Saimon 1393\Pleadings\08-21-06 Order continuing trial.doc
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     ORDER GRANTING DEFENDANTS’ MOTION TO                                                     LAW OFFICES OF
     CONTINUE MOTIONS DEADLINE AND TRIAL                                               COSTELLO & ASSOCIATES, P.S.
     DATE (No. CR06-026 RSL) - 2                                                      1000 SECOND AVENUE, SUITE 1780
                                                                                            SEATTLE, WA 98104
                                                                                              (206) 749-5020
